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                                 IN THE 31ST JUDICIAL CIRCUIT, GREENE COUNTY, MISSOURI
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          Judge or Division:                                                   Case Number: 2131-CC01116
          JASON R BROWN
          Plaintiff/Petitioner:                                                Plaintiff's/Petitioner's Attorney/Address:
          NEKEIDRA N ELLIS                                                     CHAD GARRETT MANN
                                                                               2005 W CHESTERFIELD BLVD
                                                                               UNIT 108
                                                                        vs.    SPRINGFIELD, MO 65807
          Defendant/Respondent:                                                Court Address:
          ROCK EQUIPMENT RENTALS LLC                                           JUDICIAL COURTS FACILITY
          Nature of Suit:                                                      1010 N BOONVILLE AVE
          CC Pers Inlurv-Vehicular                                             SPRINGFIELD, MO 65802                                               File
                                             Summons for Personal Service Outside the State of Missouri
                                                                                    Attacnment p►ction
              The State of Missouri to:           ROCK EQUIPMENT RENTALS LLC
                                                  Alias:
              SERVE: CORP SERV CO
              505 5TH AVE STE 729
              DES MOINES, IA 50309
                  COURT SEAL OF                   You are summoned to appear before this court and to file your pleading to the petition, copy of
                        T O~c                     which is attached, and to serve a copy of your pleading upon the attorney for the
                                                  plaintiff/petitioner at the above address all within 30 days after service of this summons upon
                                                  you, exclusive of the day of service. If you fail to file your pleading, judgment by default will be
                      u                ~          taken against you for the relief demanded in this action.
                                                                  10/14/2021                                     /S/ THOMAS R. BARR BY CR
                 GREENE COUNTY                                      Date                                                    Clerk

                                                                  Officer's or Server's Affidavit of Service
                 I certify that:
                 1. I am authorized to serve process in civil actions within the state or territory where the above summons was served.
                 2. My official title is                                              of                             County,                     (state).
                 3. 1 have served the above summons by: (check one)
                      ❑     delivering a copy of the summons and a copy of the petition to the defendant/respondent. .
                      ❑     leaving a copy of the summons and a copy of the petition at the dwelling place or usual abode of the
                            defendant/respondent with                                             , a person of the defendant's/respondent's family
                            over the age of 15 years who permanently resides with the defendant/respondent.
                      ❑     (for service on a corporation) delivering a copy of the summons and a copy of the petition to
                                                                                    (name)                                                       (title).
                          ❑       other:
                  Served at                                                                                                                         (address)

                  in                                             County,                     (state), on                    (date) at                     (time).


                                       Printed Name of Sheriff or Server                                               Signature of Sheriff or Server
                                                 Subscribed and sworn to before me this                    (day)                      (month)            (year).
                                                    I am: (check one) ❑ the clerk of the court of which affiant is an officer.
                                                                         ❑ the judge of the court of which affiant is an officer.
                                                                         ❑ authorized to administer oaths in the state in which the affiant served the above
                              (Sea/)
                                                                            summons. (use for out-of-state officer)
                                                                         ❑ authorized to administer oaths. (use for court-appointed server)

                                                                                                                               and Title
                 Service Fees
                 Summons
                 Non Est
                 Mileage                                          (                   miles @ $            per mile)
                 Total
                                                See the following page for directions to offlcer making return on service of summons.


          OSCA (07-18) SM60 (SMOS) ForCourt Use Only. Document ID# 21-SMOS-126                      1 of 2(2131-CC01116)             Rules 54.06, 54.07, 54.14, 54.20;
                                                                                                                                             506.500, 506.510 RSMo
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                                                                                                                                  EXHIBIT A
                           Directions to Officer Making Return on Service of Summons

    A copy of the summons and a copy of the motion must be served on each defendant/respondent. If any
    defendant/respondent refuses to receive the copy of the summons and motion when offered, the return shall be
    prepared accordingly so as to show the offer of the officer to deliver the summons and motion and the
    defendant's/respondent's refusal to receive the same.

    Service shall be made: (1) On Individual. On an individual, including an infant or incompetent person not having a
    legally appointed guardian, by delivering a copy of the summons and motion to the individual personally or by
    leaving a copy of the summons and motion at the individual's dwelling house or usual place of abode with some
    person of the family over 15 years of age who permanently resides with the defendant/respondent, or by delivering
    a copy of the summons and petition to an agent authorized by appointment or required by law to receive service of
    process; (2) On Guardian. On an infant or incompetent person who has a legally appointed guardian, by delivering
    a copy of the summons and motion to the guardian personally; (3) On Corporation, Partnership or Other
    Unincorporated Association. On a corporation, partnership or unincorporated association, by delivering a copy of
    the summons and motion to an officer, partner, or managing or general agent, or by leaving the copies at any
    business office of the defendant/respondent with the person having charge thereof or by delivering copies to its
    registered agent or to any other agent authorized by appointment or required by law to receive service of process;
    (4) On Public or Quasi-Public Corporation or Body. Upon a public, municipal, governmental or quasi-public
    corporation or body in the case of a county, to the mayor or city clerk or city attorney in the case of a city, to the
     chief executive officer in the case of any public, municipal, governmental, or quasi-public corporation or body or to
     any person otherwise lawfully so designated.

    Service may be made by an officer or deputy authorized by law to serve process in civil actions within the state or
    territory where such service is made.

    Service may be made in any state or territory of the United States. If served in a territory, substitute the word
    "territory" for the word "state."

    The office making the service must swear an affidavit before the clerk, deputy clerk, orjudge of the court of which
    the person is an officer or other person authorized to administer oaths. This affidavit must state the time, place, and
    manner of service, the official character of the affiant, and the affiant's authority to serve process in civil actions
    within the state or territory where service is made.

    Service must be made less than 10 days nor more than 30 days from the date the defendant/respondent is to
    appear in court. The return should be made promptly, and in any event so that it will reach the Missouri court within
    30 days after service.




OSCA (07-18) SM60 (SMOS) ForCourt Use Only. Document ID# 21-SMOS-126     2 of 2(2131-CC01116)         Rules 54.06, 54.07, 54.14, 54.20;
                                                                                                              506.500, 506.510 RSMo
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                                                                                   2131-CC01116             2.
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                IN THE CIRCUIT COURT OF GREENE COUNTY, MISSOURI                                           (
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NEKEIDRA N. ELLIS,                                                                                         G)
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                                                                                                          m
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                              Plaintiff,                                                                  m
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       vs.                                                Case No.                                         0
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                                                                                                           co
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                                                                                                          ~
GERALD A. SHEPARD,                                                                                        N
Serve at: 4616 1st Avenue
                                                                                                          N
                                                                                                          0
                                                                                                          N
                                                                                                          ~
          Palmetto, FL 34221
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        and                                                                                                N
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ROCK EQUIPMENT RENTALS, LLC,                                                                               9



Serve at: Corp. Serv. Co.
          505 5th Ave. Ste. 729
          Des Moines, IA 50309
                               Defendants.


                                              PETITION

       COMES NOW Plaintiff, Nekeidra N. Ellis, by and through her attorneys of record, Law

Offices of Bryan Musgrave, P.C. for her cause of action in this matter, states as follows:

       1.      This claim is brought pursuant to this Court's original jurisdiction over all cases and

matters, such jurisdiction granted by RSMo § 478.070.

       2.      The amount of controversy exceeds Twenty-Five Thousand Dollars ($25,000.00).

       3.      Venue is proper under RSMo § 508.010 as Plaintiffs cause of action accrued in

Springfield, Greene County, State of Missouri.

       4.      Plaintiff Nekeidra N. Ellis, at all times material hereto, is and has been a resident of

Gwinnett County, Lawrenceville, GA.

       5.      Upon information and belief, at all times material hereto, Defendant Rock Equipment

Rentals, LLC is a limited liability company formed under the laws of Iowa and did business, by

purposeful availment of the same, in the State of Missouri on the date of the accident, and is a


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                                                                                      EXHIBIT A
company with its registered agent as Corporation Service Company with an address of 505 5th Ave

Ste. 729; Des Moines, IA 50309, and further Defendant Gerald A. Shepard is and has been a resident

of Manatee County, Palmetto, FL.

       6.       On or about September 26, 2019, at approximately 11:00 am, Plaintiff Nekeidra N. Ellis

was operating a 2018 Freightliner Corp Conventional on Missouri Highway 744 traveling westbound

in the right lane, near where Missouri Highway 744 intersects Mayfair Avenue, in Greene County,

Missouri.

       7.       At said time and place, Defendant Gerald A. Shepard was operating a 2014 Kenworth

Motor Track Co. 6011, backing out of a private driveway traveling southbound, near where Missouri

Highway 744 intersects Mayfair Avenue, in Greene County, Missouri.

                                      COUNT I — NEGLIGENCE
                                        (Gerald A. Shepard)

       COMES NOW Plaintiff Nekeidra N. Ellis and, for Count I of her cause of action against

Defendant Gerald A. Shepard, Plaintiff adopts by reference paragraphs 1-7 and all subparagraphs hece

verba, and further alleges and states as follows:

                At said time and place, Defendant Gerald A. Shepard negligently operated his vehicle in

such a way so as to cause the rear of his vehicle to strike the trailer Plaintiff's vehicle was pulling;

thereby, causing the accident at issue here.

        9.      Defendant Gerald A. Shepard was negligent in the following acts and omissions:

                (a)     in failing to keep a careful lookout;

                (b)     in driving at an excessive speed under the circumstances;

                (c)     in failing to operate Defendant's vehicle in a careful and prudent manner and

                with the highest degree of care so as to avoid causing damage and injury to others;




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               (d) in failing to stop, slow, change speed, swerve, or otherwise take evasive action after

               the danger of a collision with Plaintiff's vehicle or person was or should have been

               apparent to Defendant;

               (e)     in failing and omitting to keep Defendant's motor vehicle under such control that

               it could have been brought to a safe position upon the first appearance of danger.

         10.   As a direct and proximate result of Defendant Gerald A. Shepard's negligence, Plaintiff

Nekeidra N. Ellis sustained severe injury to Plaintiff s lower back, upper back, right shoulder, and
                                                                                                                -D
neck. She has suffered all of the above injuries, pain, loss of pleasure, and damages since the date of         K

the accident, suffers them at the present time, and will suffer them in the future, said injuries, pain, and

damages being permanent, disabling and progressive.

         11.   By reason of Nekeidra N. Ellis's injuries, Plaintiff paid or became obligated for items of

expense in obtaining and receiving medical care and treatment.

         12.    By reason of Nekeidra N. Ellis's injuries, in the future plaintiff will pay or become

obligated for items of expense in obtaining and receiving medical care and treatment.

         13.    Prior to the aforesaid injuries, Plaintiff was an able-bodied person, capable of doing and

performing work and labor. As a direct and proximate result of Nekeidra N. Ellis's injuries, she has

suffered and in the future will continue to suffer, an impaired and diminished capacity for work and

labor.

                           COUNT II — HUMANITARIAN NEGLIGENCE
                                       (Gerald A. Shepard)

         COMES NOW, Plaintiff, Nekeidra N. Ellis, and for Count II of her cause of action against

Defendant Gerald A. Shepard, and hereby adopts by reference paragraphs 1-13, and all subparts

thereto, as if stated verbatim herein, and states as follows:

         14.    As a result of the facts set forth above, Plaintiff was in a position of peril at the time of

the accident in question here.



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                                                                                         EXHIBIT A
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                   15.     Defendant, Gerald A. Shepard, had notice of Plaintiff's position of peril, having actually

            realized the same, and/or having been placed on constructive notice per Defendant's duty to be on the

            lookout and exercise the highest degree of care.

                   16.     Defendant, Gerald A. Shepard, after being deemed to be on notice of Plaintiff's peril,

            had the present ability, with the means at hand, to have averted the impending injury to Plaintiff.

                   17.     Specifically, Defendant, Gerald A. Shepard, had the ability to stop, warn, and/or swerve

            to avoid the accident at issue here.

                    18.     Despite Defendant's, Gerald A. Shepard's, ability to stop, warn, and/or serve to avoid

            the accident at issue here, Defendant failed to exercise ordinary care to avert such impending injury.

                   19.     As a direct and proximate result of Defendant's, Gerald A. Shepard's, failure to stop,

            warn, and/or serve, Plaintiff suffered the injures at issue in this matter.

                                          COUNT III — RESPONDEAT SUPERIOR
                                             (Rock Equipment Rentals, LLC)

                    COMES NOW Plaintiff Nekeidra N. Ellis and, for Count III of her cause of action against

            Defendant Rock Equipment Rentals, LLC, Plaintiff adopts by reference paragraphs 1-19 and all

            subparagraphs hece verba, and further alleges and states as follows:

                    20.     Defendant Rock Equipment Rentals, LLC's control, right to control and/or management

            of its employee and agent Gerald A. Shepard is found in the following acts:

                            (a)     in supplying the above-mentioned vehicle to Gerald A. Shepard;

                            (b)     in directing Gerald A. Shepard's use of said vehicle;

                            (c)     in inspecting said vehicle to ensure it is in good working order;

                            (d)     in loading and unloading said vehicle;

                            (e)     in performing maintenance on said vehicle;

                            (f)     in keeping said vehicle fit for its intended use;



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                                                                                                  EXHIBIT A
                (g)     in directing the destination of said vehicle while in Gerald A. Shepard's care and

                        use;

                (h)     in that Gerald A. Shepard's acts of driving said vehicle were performed to serve

                        the interests of Rock Equipment Rentals, LLC under an express or implied order

                        or agreement.

       21.      Gerald A. Shepard's negligence is imputed to Defendant Rock Equipment Rentals,

LLC.

       22.      As a direct and proximate result of Defendant Rock Equipment Rentals, LLC's

negligence, Plaintiff Nekeidra Ellis sustained severe injury to Plaintiff s lower back, upper back, right

shoulder, and neck. She has suffered all of the above injuries, pain, loss of pleasure, and damages since

the date of the accident, suffers them at the present time, and will suffer them in the future, said

injuries, pain, and damages being permanent, disabling and progressive.

        23.     By reason of Nekeidra N. Ellis's injuries, Plaintiff paid or became obligated for items of

expense in obtaining and receiving medical care and treatment.

        24.     By reason of Nekeidra N. Ellis's injuries, in the future Plaintiff will pay or become

obligated for items of expense in obtaining and receiving medical care and treatment.

        25.     Prior to the aforesaid injuries, Plaintiff was an able-bodied person, capable of doing and

performing work and labor. As a direct and proximate result of Nekeidra N. Ellis's injuries, she has

sustained lost wages.

        WHEREFORE, Plaintiff Nekeidra N. Ellis prays that she be awarded fair and reasonable

damages, and any additional relief as this Court may deem just and proper under the circumstances,

against the defendants named herein.




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                                                                                       EXHIBIT A
                    Respectfully submitted,

                    LAW OFFICES OF BRYAN MUSGRAVE, P.C.


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                    Chad G. Mann
                    Missouri Bar No. 70213
                    2005 W. Chesterfield Blvd., Suite 108
                    Springfield, Missouri 65807
                    (417) 322-2222
                    (417) 322-6000 (fax)                                -~
                    chad@bryanmusgrave.com                              ~
                    ATTORNEYS FOR PLAINTIFF




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